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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )
                         Plaintiff,                      )
                                                         )       4:06CR3062
         vs.                                             )
                                                         )       PRELIMINARY ORDER
ROBERT BERLIE,                                           )       OF FORFEITURE
                                                         )
                         Defendant.                      )



         NOW ON THIS 18th day of September, 2006, this matter comes on before the Court upon

the United States' Motion for Issuance of Preliminary Order of Forfeiture and Memorandum Brief.

The Court reviews the record in this case and, being duly advised in the premises, finds as follows:

         1. The Defendant has entered into a Plea Agreement, whereby he has agreed to plead guilty

to Counts I and III of said Indictment. Count I of said Indictment charges the Defendant with

conspiracy to manufacture counterfeit currency, a violation of 18 U.S.C. §§ 371 and 471. Count III

of said Indictment charges the Defendant with using a 1997 Ford Explorer, VIN

1FMDU24E7VUC40097on the basis it was used or was intended to be used in transporting,

concealing, possessing and facilitating the transporting, concealing and possession of contraband.

         2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 49 U.S.C. §

80303.

         3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon Count III of the Indictment and the Defendant's plea of guilty, the United

States Secret Service for the District of Nebraska ("Secret Service") is hereby authorized to seize

the following-described property: a 1997 Ford Explorer, VIN 1FMDU24E7VUC40097

       C. The Defendant's interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 49 U.S.C., §80303.

       D. The aforementioned forfeited property is to be held by Secret Service in its secure custody

and control.

       E. The United States forthwith shall publish at least once for three successive weeks in a

newspaper of general circulation, in the county where the subject property is situated, notice of this

Order, notice of the United States' intent to dispose of the property in such manner as the Attorney

General may direct, and notice that any person, other than the Defendant, having or claiming a legal

interest in any of the subject forfeited property must file a Petition with the court within thirty (30)

days of the final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

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       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), 49 U.S.C. § 80303 and 28 U.S.C. 2461(c), in which all

interests will be addressed.

       ORDERED this 18th day of September, 2006.


                                                    BY THE COURT:

                                                    s/ RICHARD G. KOPF
                                                    United States District Judge




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